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                                     UNITED STATES DISTRICT COURT FOR THE
                                        EASTERN DISTRICT OF CALIFORNIA


                                                        )
       COALITION FOR A SUSTAINABLE                      ) No. 1:09-cv-02024-LJO-BAM
       DELTA and KERN COUNTY WATER                      )
       AGENCY,                                          )
                                                        )
              Plaintiffs,                               )
                                                        )        ORDER ADOPTING
                            v.                          )        SETTLEMENT
                                                        )        AGREEMENT AND
       FEDERAL EMERGENCY MANAGEMENT )                            DISMISSING WITH
       AGENCY; WILLIAM CRAIG FUGATE,                    )        PREJUDICE
       in his official capacity as Administrator of the )
       Federal Emergency Management Agency;             )
       UNITED STATES DEPARTMENT OF                      )
       HOMELAND SECURITY; and JANET                     )
       NAPOLITANO, in her official capacity as          )
       Secretary of Homeland Security,                  )
                                                        )
              Defendants.                               )
                                                        )


                         The terms and conditions of the parties’ SETTLEMENT AGREEMENT, filed on March

6, 2012, Doc. 163, are hereby adopted as an enforceable ORDER of this Court, and this matter is

hereby DISMISSED with prejudice.



IT IS SO ORDERED.

                      Dated:   March 8, 2012                       /s/ Lawrence J. O’Neill
DEAC_Signature-END:
                                                               UNITED STATES DISTRICT JUDGE

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